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                                                  U.S. Department        of Justice

                                                  United States     Allorney
                                                  District of New   Jersey




ABJ/PL AGR
2020R00990


                                                  April 3, 2025

Stanley O. King, Esq.
23158. Broad Street
Woodbury,     NJ 08096

                 Re:   Plea Agreement with Artus Johnson

Dear Mr. King:

         This letter sets forth the plea   agreement between your client, Artus Johnson,
and the United States Attorney for the District of New Jersey (“this Office”). This
offer will expire on April 18, 2025, if it is not accepted in writing by that date. If
Artus Johnson does not accept this plea agreement, his sentencing exposure could
increase beyond what is discussed in this plea agreement as a result of this Office's
investigation.

                                           Charges

       Conditioned on the understandings specified below, this Office will accept a
guilty plea from Artus Johnson to Count 19 of the Superseding Indictment, Crim.
No. 24-759 (CPO), which charges Artus Johnson with conspiracy to distribute and
possess with intent to distribute a substance or mixture containing a detectable
amount of cocaine, contrary to 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), in violation of 21
U.S.C. § 846.

       If Artus Johnson enters a guilty plea and is sentenced on this charge and
otherwise fully complies with this agreement, this Office will dismiss the balance of
the charged pending against Artus Johnson in the Superseding Indictment and not
initiate any further criminal charges against Artus Johnson because of his drug
trafficking and firearm possession activity from in or about August 2023 to
February 2024. In addition, if Artus Johnson fully complies with this agreement, at
sentencing, this Office will move to dismiss Counts 12, 15, 16, and 25 of the
Superseding Indictment, Criminal No. 24-759, against Artus Johnson.
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             expiration of any term of imprisonment imposed. Should Artus
             Johnson be placed on a term of supervised release and subsequently
             violate any of the conditions of supervised release before the expiration
             of its term, Artus Johnson may be sentenced to not more than 2 years’
             imprisonment, in addition to any prison term previously imposed,
             regardless of the statutory maximum term of imprisonment set forth
             above and without credit for time previously served on post-release
             supervision, and may be sentenced to an additional term of supervised
             release.

                                      Forfeiture

       As part of Artus Johnson’s acceptance of responsibility and pursuant to 21
U.S.C. § 853, Artus Johnson agrees to forfeit to the United States any and all
property constituting or derived from any proceeds Artus Johnson obtained, directly
or indirectly, as the result of the violation charged in Count 19 of the Superseding
Indictment, and all of Artus Johnson’s right, title, and interest in any property that
was used or intended to be used, in any manner or part, to commit, and to facilitate
the commission of, the violation charged in the Superseding Indictment.

      Artus Johnson further agrees that one or more of the conditions set forth in
21 U.S.C. § 853(p) exists; entitling the United States to forfeit substitute assets
equal to the value of the proceeds obtained by Artus Johnson (the “Money
Judgment”). Artus    Johnson consents to the entry of an order requiring Artus
Johnson to pay the Money Judgment and agrees that such Order will be final as to
Artus Johnson prior to sentencing, pursuant to Rule 32.2(b)(4) of the Federal Rules
of Criminal Procedure, and which may be satisfied in whole or in part with
substitute assets. Any forfeited money and the net proceeds from the sale of
forfeited specific property will be applied to the Money Judgment, in partial
satisfaction thereof.

       All payments made in full or partial satisfaction of the Money Judgment
shall be made by postal money order, bank, or certified check, made payable in this
instance to the United States Marshals Service, indicating Artus Johnson’s full
name and case number on the face of the check: and shall be delivered by mail-to
the United States Attorney's Office, District of New Jersey, Attn: Asset Recovery
and Money Laundering Unit, 970 Broad Street, 7th Floor, Newark, New Jersey
07102. Artus Johnson further agrees that the United States Attorney's Office may
conduct any discovery needed to identify, locate, or dispose of property sufficient to
pay the Money Judgment in full or in connection with any petitions filed with
regard to proceeds or substitute assets, including depositions, interrogatories, and
requests for production of documents, and the issuance of subpoenas.
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 Probation Office of: (1) this agreement; and (2) the full nature and extent of Artus
 Johnson’s activities and relevant conduct with respect to this case.

                                     Stipulations

         This Office and Artus Johnson will stipulate at sentencing to the statements
 sct forth in the attached Schedule A, which is part of this plea agreement. Both
 parties understand that the sentencing judge and the United States Probation
Office are not bound by those stipulations and may make independent factual
findings and may reject any or all of the parties’ stipulations. Nor do these
stipulations restrict the parties’ rights to respond to questions from the Court and
to correct misinformation that has been provided to the Court.

       This agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement.
Thus, if this Office obtains or receives additional evidence or information prior to
sentencing that it believes materially conflicts with a Schedule A stipulation, that
stipulation shall no longer bind this Office. A determination that a Schedule A
stipulation is not binding shall not release the parties from any other portion of this
agreement, including any other Schedule A stipulation.

       If the sentencing court rejects a Schedule A stipulation, both parties reserve
the right to argue on appeal or at post-sentencing proceedings that the sentencing
court did so properly. Finally, to the extent that the parties do not stipulate toa
particular fact or legal conclusion in this agreement, each reserves the right to
argue how that fact or conclusion should affect the sentence.

                 Waiver of Appeal and Post-Sentencing Rights

      As set forth in Schedule A and the paragraph below, this Office and Artus
Johnson waive certain rights to appeal, collaterally attack, or otherwise challenge
the judgment of conviction or sentence.

                            Immigration    Consequences

      Artus Johnson understands that, if Artus Johnson is not a citizen of the
United States, Artus Johnson’s guilty plea to the charged offenses will likely result
in Artus Johnson being subject to immigration proceedings and removed from the
United States by making Artus Johnson deportable, excludable, or inadmissible, or
ending Artus Johnson's naturalization. Artus Johnson understands that the
immigration consequences of this plea will be imposed in a separate proceeding
before the immigration authorities. Artus Johnson wants and agrees to plead guilty
to the charged offenses regardless of any immigration consequences of this plea,
even if this plea will cause Artus Johnson’s removal from the United States. Artus
Johnson understands that Artus Johnson is bound by this guilty plea regardless of

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any immigration consequences. Accordingly, Artus Johnson waives any right to
challenge the guilty plea, sentence, or both based on any immigration consequences.
Artus Johnson also agrees not to seck to withdraw this guilty plea, or to file a direct
appeal, or any kind of collateral attack challenging the guilty plea, conviction, or
sentence, based on any immigration consequences of the guilty plea or sentence.

                                  Other Provisions

      This agreement is limited to the United States Attorney's Office for the
District of New Jersey and cannot bind other federal, state, or local authorities. If
requested to do so, however, this Office will bring this agreement to the attention of
other prosecuting offices.

      This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against Artus Johnson. So
this agreement does not prohibit the United States, any agency thereof (including
the Internal Revenue   Service and Immigration    and Customs Enforcement)     or any
third party from initiating or prosecuting any civil or administrative proceeding
against him.

       No provision of this agreement shall preclude Artus Johnson from pursuing
in an appropriate forum, when permitted by law, a claim that he received
constitutionally ineffective assistance of counsel.


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                              No Other Promises

      This agreement constitutes the entire plea agreement between Artus
Johnson and this Office and supersedes any previous agreements between them. No
additional promises, agreements, or conditions have been made or will be made
unless set forth in writing and signed by the parties.


                                                    Very truly yours,

                                                   ALINA HABBA
                                                   United States Attorney




                                    By:
                                                    adaaws
                                                       B than
                                                   ANDREW B. JOHNS
                                                   Assistant U.S. Attorney

APPROVED:

          een




JASON M. RICHARDSON
Attorney-in-Charge, Camden Branch
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          I have received this letter from my attorney, Stanley O. King, Esq. | have
   read it. My attorney and I have reviewed and discussed it and all of its provisions   ,

   including those addressing the charges, sentencing, stipulations (including the
   attached Schedule A), waiver, forfeiture, and immigration consequences. I
   understand this letter fully and am satisfied with my counsels’ explanations. |
   accept its terms and conditions and acknowledge that it constitutes the plea
   agreement between the parties. I understand that no additional promises,
   agreements, or conditions have been made or will be made unless set forth in
   writing and signed by the parties. I want to plead guilty pursuant to this plea
   agreement.

   AGREED AND ACCEPTED:



   Ad       Shor —                               Date: 4 | 13 / 25
   Artus Johnson




          I have reviewed and discussed with my client this plea agreement and all of
   its provisions, including those addressing the charges, sentencing, stipulations
   (including the attached Schedule A), waiver, forfeiture, and immigration
   consequences. My client understands this plea agreement fully and wants to plead
   guilty pursuant to it.



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StanleyO. Kirg, Esq. 4
—~                                                             [3       ee)
   Counsel for Deféndan’
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                          Plea Agreement      With Artus Johnson

                                          Schedule A

      iL.   This Office and Artus Johnson recognize that the United States
Sentencing Guidelines do not bind the sentencing judge. Each party nevertheless
agrees to these stipulations.

        2.    The version of the Guidelines effective November 1, 2024 applies in
this case.

       3.     The applicable guideline is U.S.S.G. § 2D1.1.

       4.     The offense level is the offense level specified in the Drug Quantity
Table set forth in U.S.S.G. § 2D1.1(¢).      U.S.S.G. § 2D1.1(a)(5).

       5.     Artus Johnson’s offense involved the distribution and possession with
intent to distribute 701 grams of cocaine, and 11.9 grams of cocaine base. This
equates to 182.6949 kilograms of Combined Drug Weight. Therefore, the base
offense level is 24. U.S.S.G. 2D1.1(c)(8).

       6.     As of the date of this letter, Artus Johnson has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the
offense/offenses charged. Therefore,      a downward adjustment of 2 levels for
acceptance of responsibility is appropriate if Artus Johnson’s acceptance of
responsibility continues through the date of sentencing. See U.S.S.G. § 3E1.1(a).

        fi   As of the date of this letter, Artus      Johnson has assisted authorities in
the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting this Office to
avoid preparing for trial and permitting this Office and the court to allocate their
resources efficiently. At sentencing, this Office will move for a further 1-point
reduction in Artus Johnson's offense level pursuant to U.S.S.G. § 3E1.1(b) if the
following conditions are met: (a) Artus Johnson enters a plea pursuant to this
agreement, (b) this Office, in its discretion, determines that Artus Johnson’s
acceptance of responsibility has continued through the date of sentencing and Artus
Johnson therefore qualifies for a 2-point reduction for acceptance of responsibility
pursuant to U.S.S.G. § 3E1.1(a), and (c) Artus Johnson's offense level under the
Guidelines prior to the operation of § 3E1.1(a) is 16 or greater

       8.    Accordingly, the parties agree that the total Guidelines offense level
applicable to Artus Johnson is 21 (the “Total Offense Level”).

      9.    The parties agree not to advocate for any upward or downward
adjustment or departure from the Guidelines range resulting from (a) the Total
Offense Level and (b) the criminal history category that the sentencing judge

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applies under Chapter 4 of the Guidelines without any departure or variance. But
each party may seek a variance from that Guidelines range, which the other party
may oppose.

        10.   If the term of imprisonment does not exceed 87 months, and except as
specified in the next paragraph below, Artus Johnson will not challenge or seck to
reduce by any means any component of the sentence imposed by the sentencing
judge for any reason other than ineffective assistance of counsel. The term “any
means’ includes a direct appeal under 18 U.S.C. § 3742 or 28 U.S.C. § 1291, a
motion to vacate the sentence under 28 U.S.C. § 2255, a motion to reduce the term
of imprisonment under 18 U.S.C. § 3582(c)(1)(B) or (c)(2), a motion for early
termination of supervised release under 18 U.S.C. § 3583(e)(1), and any other
appeal, motion, petition, or writ, however captioned, that seeks to attack or modify
any component of the sentence. If the term of imprisonment is at least 70 months,
this Office will not challenge by appeal, motion, or writ any component of the
sentence imposed by the sentencing judge. The provisions of this paragraph bind
the parties even if the sentencing judge employs a Guidelines analysis different
from the one above.

        11.   Both parties reserve the right to file or to oppose any appeal, collateral
attack, writ or motion not barred by the preceding paragraph or any other provision
of this plea agreement. Moreover, the preceding paragraph does not apply to:

          a.   Any proceeding to revoke the term of supervised release.

          b. A motion to reduce the term of imprisonment under 18 U.S.C.
             § 3582(c)(1)(A).

          c.   An appeal from the denial of a § 3582(c)(1)(A) motion on the grounds
               that the court erred in finding no extraordinary and compelling
               circumstances warranting a reduced term of imprisonment or that the
               court failed to consider those circumstances as a discretionary matter
               under the applicable factors of 18 U.S.C. § 3553(a).




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